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,   AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                           UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA
                 UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                      V.                                (For Offenses Conunitted On or After November 1, 1987)

            EDGAR EFREN MORALES MORENO (1)                                 Case Number:         l 7CR1587-DMS

                                                                        Michael Harkness RET
                                                                        Defendant's Attorney
    USM Number                        212 9 8056                                                                              . ~--,..

    D -                                                                                                                 FILED
    THE DEFENDANT:
    ~    pleaded guilty to count(s)         1, 3, 4, 5 and 6 of the Indictment                                          OCT 2 1 2020
                                                                                                                   CLEF<.K J.S. o,~.;Ti<:·:T COURT
    D was found guilty on count(s)                                                                           SOUT"-<C:W~ Dlj."'"!11C OF Ct\llfOHNlt~
                                                                                                             .,,                              H",l)i -y

        after a olea of not guiltv.                                                                                         ·u
    Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                  Count
    Title & Section                     Nature of Offense                                                                        Number(s)
    18 use 922(a)(l)(A)                 DEALING IN FIREARMS WITHOUT A LICENSE                                                       1

    18 USC 922(g)(l) and                FELON IN POSSESSION OF A FIREARMAND                                                              3, 4, 5
    924(a)(2)                           AMMUNITION
    21 USC 84l(a)(l) and 846            CONSPIRACY TO DISTRIBUTE COCAINE                                                                   6


        The defendant is sentenced as provided in pages 2 through                 5            of this judgment.
    The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
    D    The defendant has been found not guilty on count(s)
    D Count(s)
                    -------------- is .                                       dismissed on the motion of the United States.

          Assessment: $500.00 ($100.00 as to each count)


     D JVTA Assessment*: $
          *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
     ~    No fine              ~ Forfeiture pursuant to order filed          10/15/2018                   , included herein.
           IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
    judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
    any material change in the defendant's economic circumstances.


                                                                        Date oflmposition of Sentence



                                                                        HON. Dana          . a raw
                                                                        UNITED STATES DISTRICT JUDGE
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                                                    IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 FIFTEEN (15) MONTHS as to each of Counts 1, 3, 4, 5 and 6, concurrently.




 •       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 l2sl    The court makes the following recommendations to the Bureau of Prisons:
         Defendant be designated to a facility in the Southwest Region, and where he may receive proper medical
         care.




 •       The defendant is remanded to the custody of the United States Marshal.

 •       The defendant must surrender to the United States Marshal for this district:
         •       at
              ---------                  A.M.                   on
                                                                     ------------------
         • as notified by the United States Marshal.
         The defendant must surrender for service of sentence at the institution designated by the Bureau of
         Prisons:
          l2sl   on or before NOON on February 5, 2021.
         •       as notified by the United States Marshal.
         •       as notified by the Probation or Pretrial Services Office.

                                                          RETURN

 I have executed this judgment as follows:
                                                                             to _ _ _ _ _ _ _ _ _ _ _ _ _ __
          Defendant delivered on

  at
        ------------ , with a certified copy of this judgment.
                                                                     UNITED STATES MARSHAL



                                        By                    DEPUTY UNITED STATES MARSHAL




                                                                                                        17CR1587-DMS
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                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
THREE (3) YEARS as to each of Counts 1, 3, 4, 5 and 6, concurrently.

                                            MANDATORY CONDITIONS
1. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controll~d substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
   controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
   two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
   than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          •The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
           risk of future substance abuse. (check if applicable)
4.    •
      The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. (check if applicable)
5. IZIThe defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U .S.C. §
   20901, et seq,) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
   the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. ( check if
   applicable)
7.    •
      The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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                                     STANDARD CONDITIONS OF SUPERVISION
As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant's behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant's conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisomnent, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
  · anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
    probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
    unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware ofa change or
    expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to fmd full-
   time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   pro\,ation officer at least 10 days before the change. If notifying the probation officer at least IO days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
    as nunchakus or lasers).

 11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
     informant without first getting the permission of the court.

 12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
     officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
     The probation officer may contact the person and confirm that the defendant notified the person about the risk.

 13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.



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                               SPECIAL CONDITIONS OF SUPERVISION


   1. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
      Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
      contraband or evidence of a violation of a condition of release; failure to submit to a search may be
      grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
      searches pursuant to this condition.

   2. Not associate with any person who you know, or who a probation officer or other law enforcement
      officer informs you is an Oceanside gang member or associate, or any other known gang member or
      associate, unless given permission by the probation officer.

   3. Not wear, display, use or possess any insignias, photographs, emblems, badges, buttons, caps, hats,
       jackets, shoes, flags, scarves, bandanas, shirts or other articles of clothing that are known to represent
       gang affiliation, association with or membership in the Oceanside gang or any other gang, unless given
       permission by the probation officer.

   4. Not display any known gang signs or gestures.

   5. Participate in a program of mental health treatment as directed by the probation officer, take all
      medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
      permission. The Court authorizes the release of the presentence report and available psychological
      evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
      release of information between the probation officer and the treatment provider. The defendant may be
      required to contribute to the costs of services rendered in an amount to be determined by the probation
      officer, based on the defendant's ability to pay.




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